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                               No. 14-8103


                                 IN THE

            United States Court of Appeals
                      FOR THE THIRD CIRCUIT

               IN RE NATIONAL FOOTBALL LEAGUE PLAYERS
                     CONCUSSION INJURY LITIGATION


                 On Petition to Appeal from an Order of the
  Eastern District of Pennsylvania Granting Settlement Class Certification
                        2:12-md-2323-AB (E.D. Pa.)


      REPLY IN SUPPORT OF PETITION OF OBJECTING
     CLASS MEMBERS PURSUANT TO FED. R. CIV. P. 23(f )
    FOR LEAVE TO APPEAL FROM THE DISTRICT COURT’S
   ORDER GRANTING SETTLEMENT CLASS CERTIFICATION

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                                 INTRODUCTION
        Class Counsel and the NFL conflate and confuse the authority controlling

whether this Court can and should review the district court’s order certifying the

settlement class. Five basic points govern the analysis:

         Rule 23(f ) states: A “court of appeals may permit an appeal from an
          order granting or denying class-action certification under this rule.” The
          word “final” does not appear in the rule.

         Rule 23(f ) is intended to afford an opportunity for prompt correction of
          error to spare the parties significant litigation or settlement costs.
          Lienhart v. Dryvit Sys., Inc., 255 F.3d 138, 144-45 (4th Cir. 2001).

         This Court has “unfettered discretion” to grant a Rule 23(f ) petition.
          Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154,
          163 (3d Cir. 2001) (quotation marks omitted).

         This Court has held that a basis for granting Rule 23(f ) review is when
          the district court’s “ruling on class certification [wa]s likely erroneous.”
          Id. at 164 (emphasis added).

         In exercising its discretion, this Court may grant review “on the basis of
          any consideration that [it] finds persuasive.” Id. at 165.

        The erroneous certification of a conflict-riddled class – along with the other

“persuasive considerations” of fundamental defects in the notice and claims proc-

ess, as well as the deteriorating health of class members – justifies review.

                                    ARGUMENT

I.      THIS COURT HAS JURISDICTION TO REVIEW THE CERTIFICATION ORDER
        This Court has “unfettered discretion” to grant Rule 23(f ) petitions and may

do so “on the basis of any consideration that [it] finds persuasive.” Newton, 259
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F.3d at 163, 165. That “wide latitude,” id. at 165, extends to review of a certifi-

cation order that “is likely erroneous,” id. at 164. Other courts similarly apply

Rule 23(f ) flexibly.1 This approach reflects the intent of the Rule’s drafters, who

“removed” passages “predicting that permission to appeal would be granted with

restraint.” Civil Rules Advisory Committee, Minutes (May 1-2, 1997), http://www.

uscourts.gov/uscourts/RulesAndPolicies/rules/Minutes/cv5-97.htm. The drafters also

noted that “early review is desirable.” 1 Working Papers of the Advisory Com-

mittee on Civil Rules on Proposed Amendments to Civil Rule 23, at 272 (1997).

       Nonetheless, Class Counsel contend that, “[p]lain and simple, there is no

jurisdictional basis” for the petition.    Class Opp. 1.      The NFL echoes that

contention, arguing that the “certification order issued by the district court was

expressly based on a ‘preliminary’ review of the requirements under Rule 23.”

NFL Opp. 10. Yet, the NFL and Class Counsel cite no case holding that courts of

appeals lack jurisdiction under Rule 23(f ) over a “preliminary” certification order.

       Rule 23 draws no distinction among different class certification orders.

“Preliminary” class certification is nowhere in the Rule’s text. Rather, Rule 23

1
  See, e.g., Matz v. Household Int’l Tax Reduction Inv. Plan, 687 F.3d 824, 826
(7th Cir. 2012) (order amending scope of class reviewable under Rule 23(f ));
Glover v. Standard Fed. Bank, 283 F.3d 953, 958-59 (8th Cir. 2002) (granting peti-
tion where order added class members to an already-certified class). Rather than
adopting respondents’ rigid approach, “courts have allowed some flexibility in ap-
pealable orders where they have been convinced that significant changes were still
being made to the class.” Rubenstein, Newberg on Class Actions § 7:51 (5th ed.).
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speaks only of “class certification” and identifies certain “prerequisites” that must

be met to obtain class certification. See Fed. R. Civ. P. 23(a)-(b). “A court that is

not satisfied that the requirements of Rule 23 have been met should refuse certifi-

cation until they have been met.” Fed. R. Civ. P. 23, 2003 Advisory Committee

note. Thus, the district court has ruled that Rule 23’s requirements have been met.

       The NFL concedes that every “order that grants or denies class certification

may be altered or amended before final judgment.” NFL Opp. 12; see Fed. R. Civ.

P. 23(c)(1)(C). But it argues that review now would “threaten[ ] to create a circum-

stance where the district court’s final decision moots this court’s appellate review.”

NFL Opp. 11. This argument makes no sense. Given that every order granting or

denying certification may be altered or amended prior to final judgment, there is

always the possibility that a district court might later “moot” appellate review.2

       Further, contrary to respondents’ contention, immediate review does not

require this Court to act as an appellate factfinder. Class Opp. 3, 7; NFL Opp. 10-



2
  Class Counsel – but not the NFL – speculate that the Advisory Committee’s 1998
statement that “tentative” certifications are reviewable is no longer accurate
because “conditional” certifications were eliminated in 2003. Class Opp. 7-8. But
they offer no reason why “tentative” and “conditional” should be conflated.
Rather, the Advisory Committee’s reference to “tentative” certifications is merely
an acknowledgement that all certifications are tentative because every “order that
grants or denies class certification may be altered or amended before final
judgment.” Fed. R. Civ. P. 23(c)(1)(C). If the deletion of “conditional” class
certification was intended to eliminate interlocutory appeal of tentative certifi-
cation decisions, the 2003 amendment notes would have expressly stated that.
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11. Petitioners have challenged the structure of the class based on the lack of ade-

quate representation – one of the four requirements for certification. Fed. R. Civ.

P. 23(a)(4). This Court must “focus on the settlement’s distribution terms . . . to

detect situations where some class members’ interests diverge from those of others

in the class.” In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab.

Litig., 55 F.3d 768, 797 (3d Cir. 1995). Those terms are already before this Court.

The district court made the factual finding – over the objection of petitioners – that

“the interests of all Settlement Class Members” are “protected.” Pet. Ex. B at 15.3

       Respondents also invoke Liles v. Del Campo, 350 F.3d 742 (8th Cir. 2003).

Class Opp. 12-13; NFL Opp. 17-18. But that case supports petitioners. The

Eighth Circuit did not rule that it had no jurisdiction. Rather, it declined to exer-

cise its discretion to grant the petition. In doing so, it emphasized that settlement

claims were to be paid from a fund that also covered litigation costs. 350 F.3d at

745. Thus, interlocutory review would “jeopardize the limited assets available for

resolving the claims.” Id. at 745-46. Here, by contrast, no such limits exist, and

interlocutory review will expedite the cure of the fatal flaws in the class structure.

       The fundamental purpose of Rule 23(f ) is to allow a court of appeals to

3
  Petitioners raised the conflicts within the class twice before the district court –
first in their motion to intervene (that was denied after petitioners sought leave to
appeal) and then in their objection to preliminary approval. Nothing suggests the
third time will be the charm and the district court will change its view absent
direction from this Court.
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address a problem with certification in an efficient, timely manner. See Lienhart,

255 F.3d at 145; Willging et al., Empirical Study of Class Actions in Four Federal

District Courts: Final Report to the Advisory Committee on Civil Rules 80 (1996)

(Rule 23(f ) “is intended to afford an opportunity to prompt correction of error

before the parties incur significant litigation or settlement costs”). Respondents

read non-existent limitations into the rule that would thwart that purpose.4

II.    THIS COURT SHOULD EXERCISE ITS DISCRETION UNDER RULE 23(f ) TO
       REVIEW THE CLASS CERTIFICATION ORDER AT ISSUE HERE
       “Permission to appeal may be granted or denied on the basis of any

consideration that the courts of appeals finds persuasive.” Newton, 259 F.3d at

165. Multiple considerations warrant review at this juncture.

        A.    The District Court’s Certification Order Is Erroneous

        This Court has expressly recognized that review is proper when the district

court’s “ruling on class certification is likely erroneous.” Newton, 259 F.3d at 164.

An “error in the class certification decision that does not implicate novel or

unsettled legal questions may still merit interlocutory review given the conse-

quences likely to ensue.” Id. The certification order here was erroneous because it

4
  Before Rule 23(f ), courts could correct erroneous class certification decisions
through mandamus. But mandamus set a high bar: “[T]he district court’s decision
[had to] lie[ ] far outside the bounds of established . . . law.” In re Asbestos Sch.
Litig., 46 F.3d 1284, 1289 (3d Cir. 1994). Rule 23(f ) “was explicitly promulgated
to replace the use of mandamus in reviewing manifestly erroneous class certifi-
cations [so] it would be inappropriate to review such petitions under standards as
stringent as those which govern mandamus.” Lienhart, 255 F.3d at 144.
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failed to account for serious intra-class conflicts.5

       “[A]dversity among subgroups” requires denial of class certification.

Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 627 (1997) (denying certification

where conflict existed between present and future claimants). Here, the settlement

compensates cases of CTE in individuals who died before July 7, 2014 but gives

nothing to individuals living with CTE or who die with CTE after July 7, 2014.

Pet. 10. Respondents offer no explanation for that glaring, illogical discrepancy.

        Respondents suggest that the settlement need not compensate CTE

specifically because it compensates “actual” or “demonstrated” neurocognitive or

neuromuscular “impairment” or “deficits.” Class Opp. 14 & 15 n.6; NFL Opp. 18.

But that is inconsistent with compensating those who died with CTE before

preliminary approval. And it is inconsistent with accepted medical and scientific

literature, as well as the allegations Class Counsel and others have made

throughout the litigation.       CTE should still be compensated alongside ALS,

Alzheimer’s Disease, Parkinson’s Disease, and dementia:

         CTE is a demonstrated neurocognitive impairment or deficit: It is “a
          progressive degenerative disease of the brain found in athletes . . . with a

5
  Respondents label these intra-class conflicts as an attack on the settlement, not
certification. Class Opp. 9-10; NFL Opp. 18-19. But this Court properly addresses
intra-class conflicts resulting from settlement distribution terms as class
certification questions. See, e.g., Dewey v. Volkswagen Aktiengesellschaft, 681
F.3d 170, 187-88 (3d Cir. 2012) (finding inadequate representation under Rule
23(a)(4)); GM Trucks, 55 F.3d at 800-04 (same).
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         history of repetitive brain trauma.” BU CTE Center, What Is CTE?,
         http://www.bu.edu/cte/about/what-is-cte/ (emphasis added).

       The Class Action Complaint alleges that CTE is an independent, MTBI-
        related disease: “[T]he NFL has known for decades that MTBI can and
        does lead to long-term brain injury, including, but not limited to memory
        loss, dementia, Alzheimer’s Disease, Parkinson’s Disease, ALS, depres-
        sion, and CTE and its related symptoms.” Compl. ¶ 127.

       CTE presents with serious symptoms beyond neurocognitive or neuro-
        muscular impairment, including headache, depression, impulsivity, ex-
        plosivity, aggression, visuospatial difficulties, and language impairment.
        McKee et al., The Spectrum of Disease in Chronic Traumatic Encephalo-
        pathy, 136 Brain: A Journal of Neurology 43, 54-56 (2013) (tbls. 3 & 4).

       The correlation between CTE and another qualifying diagnosis is weak.
        In one study of 68 individuals with CTE, eight presented with motor
        neuron disease (such as ALS), seven presented with Alzheimer’s
        Disease, and six presented with Parkinson’s Disease. McKee, supra, at
        43, 50-51, 61. But over two-thirds presented only with CTE.

CTE is a disease that results in neurocognitive impairment. And it should be com-

pensated under any settlement regardless of when a player dies with that illness.

      Class Counsel (at 14) acknowledge that an “autopsy diagnosis of CTE serves

as sufficient evidence of harm for purposes of establishing compensation” for class

members who died before July 7, 2014. But there is no reason why such a diagno-

sis is insufficient for individuals who died after July 7. CTE diagnosed in the

living merits compensation too. See Pet. 12 & n.5; Pet. Ex. C at 9-11.

      In addition to the discriminatory treatment of class members with CTE, the

class contains conflicts based on the arbitrary 75% reduction of payments to mem-

bers suffering a stroke or a concussion unrelated to NFL play. See Pet. 14-15. It

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also arbitrarily rejects credit for seasons played with NFL Europe. See id. at 15-16.

        Respondents insist that the intra-class conflicts petitioners have identified

are factual questions that require additional development before the district court.

Class Opp. 11-12; NFL Opp. 16-18. But, again, this issue can be determined from

reviewing the settlement on its face. See GM Trucks, 55 F.3d at 797.6

       Significantly, respondents devote little effort to justifying these obvious

conflicts. That is because they cannot be justified. These conflicts result in

inappropriately awarding “considerably more value to one class of plaintiffs.” GM

Trucks, 55 F.3d at 797. Accordingly, the class members at whose expense the

handful who qualify are enriched lack adequate representation.

       B.     Defects in the Settlement Process Require Immediate Review
       Numerous other deficiencies in the settlement – including inadequate notice

and an overly burdensome claims process – justify granting immediate review.

Respondents urge this Court to ignore those considerations. Class Opp. 9-10; NFL

Opp. 18-20. But this Court may consider “any consideration that [it] finds persua-

sive.” Newton, 259 F.3d at 165. Those deficiencies render the settlement process

unfair to the point of violating due process. The class notice has already been sent,

but it fails to explain clearly the limitations on CTE compensation. Pet. 17. The

claims process, moreover, erects hurdle after hurdle that threatens to deprive class
6
  It is ironic that Class Counsel argue that factual development is necessary given
that they conducted no discovery before settling.
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members of the recovery promised to them. If a class member does not register

within 180 days, he receives nothing.          Pet. 18.   And the appeals process is

weighted in the NFL’s favor. Id. These deficiencies will doom the settlement in a

later appeal. See Eubank v. Pella Corp., 753 F.3d 718, 724-25 (7th Cir. 2014)

(rejecting settlement that “strews obstacles in the path of ” valid claimants).

      C.     For Many Class Members, Time Is of the Essence
      For many class members, a settlement that is consummated years from now

will come too late. Respondents do not suggest otherwise. Indeed, they ignore

petitioners’ argument of the urgency of many class members’ situations.

      The diseases resulting from MTBI are debilitating, degenerative, and

expensive to treat. See Pet. 18-19. The condition of those who are sick will

worsen if appellate review of this settlement class occurs only after final approval.

Many who are healthy will become sick, going without the benefit of diagnostic

examinations that a fair settlement would provide. Delaying diagnosis and treat-

ment will have disproportionately large consequences because early intervention

and treatment of these neurodegenerative conditions can increase quality of life,

slow the progression of the disease, and decrease the overall cost of caring for

those afflicted. See, e.g., Prince et al., World Alzheimer Report 2011: The Benefits

of Early Diagnosis and Intervention 6, 23-31 (2011). And all class members

would carry on their own the burdensome costs of medical treatment, lost wages,


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and other losses resulting from the injuries they suffered at the hands of the NFL.

                                  CONCLUSION
       Substantial defects were raised with the district court twice and it certified

the class nonetheless – albeit in a commendable effort to resolve a complex

litigation. Allowing the case to proceed to a fairness hearing will inevitably result

in substantial delay, as the case will eventually return to this Court to address

problems that can be fixed now.

       This Court has jurisdiction over this matter. The language and history of the

rule make that clear. Nothing in respondents’ arguments demonstrates otherwise.

Indeed, this case presents a classic circumstance to effect the purpose of Rule 23(f )

– avoiding unnecessary delay and expense, as well as a waste of judicial resources.

       The injured members of the class are entitled to a prompt resolution. To that

end, we suggest that briefing of this matter occur on a reasonably expedited basis.

The key issues have been addressed already and certainly are familiar to the

parties. Class Counsel and the NFL have moved with less than deliberate speed

thus far – taking four months to file the initial settlement with the district court

after announcing it, and then taking five months to file a revised settlement after

their first effort was rejected.7 We respectfully request that the petition be granted

and a reasonably expedited briefing schedule be set.
7
  It is unclear how much of this time was spent negotiating Class Counsel’s nine-
figure attorneys’ fee, plus the potential for 5% of the awards to class members.
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                        CERTIFICATE OF COMPLIANCE
1.      This reply complies with the page limitation of Federal Rules of Appellate
        Procedure 5(c) and 27(d)(2) because it does not exceed 10 pages, exclusive
        of the disclosure statement, the proof of service, and the accompanying
        documents required by Rule 5(b)(1)(E).

2.      This reply complies with the typeface requirements of Federal Rule of
        Appellate Procedure 32(c)(2) and 32(a)(5) and the type style requirements
        of Rule 32(a)(6) because this reply has been prepared in a proportionally
        spaced typeface using Microsoft Word in Times New Roman 14 point font.


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                            CERTIFICATE OF SERVICE
       I certify that today, August 14, 2014, the foregoing Reply in Support of

Petition for Permission to Appeal was filed with the Clerk of the Court for the U.S.

Court of Appeals for the Third Circuit using the CM/ECF system, which will send

notice of filing to all parties.


      August 14, 2014                     /s/ Steven F. Molo
                                          Steven F. Molo
